          Case 1:20-vv-00446-UNJ Document 30 Filed 10/20/21 Page 1 of 2




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0446V
                                        UNPUBLISHED


 CHRISTINA WELLS,                                           Chief Special Master Corcoran

                        Petitioner,                         Filed: September 17, 2021
 v.
                                                            Special Processing Unit (SPU);
 SECRETARY OF HEALTH AND                                    Ruling on Entitlement; Concession;
 HUMAN SERVICES,                                            Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On April 16, 2020, Christina Wells filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered from a left shoulder injury related to
vaccine administration (SIRVA) as a result of an influenza (“flu”) vaccine administered on
October 25, 2018. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

       On September 17, 2021, Respondent filed his Rule 4(c) report in which he states
that he does not contest that Petitioner is entitled to compensation in this case.
Respondent’s Rule 4(c) Report at 1. Specifically, it is Respondent’s position that
Petitioner “has satisfied the criteria set forth in the Vaccine Injury Table (“Table”) and the

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required

to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:20-vv-00446-UNJ Document 30 Filed 10/20/21 Page 2 of 2




Qualifications and Aids to Interpretation (“QAI”) for SIRVA.” Id. at 4. Respondent “[has]
not identif[ied] any other causes for [P]etitioner’s SIRVA,” and agreed that “[P]etitioner
meets the statutory requirements by suffering the condition for more than six months.” Id.
Therefore, based on the record as it now stands, Petitioner has satisfied all legal
prerequisites for compensation under the Vaccine Act.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




                                            2
